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                            NOT FOR PUBLICATION
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                     UNITED STATES COURT OF APPEALS                     MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS


                            FOR THE NINTH CIRCUIT


ERIC ADERHOLD,on his own behalf and              No.   14-35208
on behalf of other similarly situated
persons,                                         D.C. No. 2:13-cv-00489-RAJ

               Plaintiff-Appellant,
                                                 MEMORANDUM*
 v.

CAR2GO N.A. LLC,

               Defendant-Appellee.


                    Appeal from the United States District Court
                      for the Western District of Washington
                    Richard A. Jones, District Judge, Presiding

                           Submitted September 2, 2016**
                               Seattle, Washington

Before: HAWKINS, McKEOWN, and DAVIS,*** Circuit Judges.




         *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
         **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
         ***
            The Honorable Andre M. Davis, Senior Circuit Judge for the U.S.
Court of Appeals for the Fourth Circuit, sitting by designation.
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      Eric Aderhold appeals the district court’s dismissal of his putative class

action under the Telephone Consumer Protection Act (“TCPA”),

47 U.S.C. § 227(b). Aderhold alleged that car2go N.A. LLC sent an automated

commercial text message to his cellular phone as part of its registration process

without his “prior express consent.” The text message required Aderhold to enter a

validation code on car2go’s website in order to complete the registration process

that Adherhold had initiated. We affirm the dismissal.

       The Federal Communications Commission (“FCC”) has determined that

“persons who knowingly release their phone numbers have in effect given their

invitation or permission to be called at the number which they have given, absent

instructions to the contrary.” In re Rules & Regulations Implementing the Tel.

Consumer Prot. Act of 1991, Report and Order, 7 FCC Rcd. 8752, 8769 (Oct. 16,

1992). Aderhold therefore consented to receiving text messages related to the

application process from car2go simply by providing his phone number in the

application for membership. Our opinion in Satterfield v. Simon & Schuster, Inc.,

569 F.3d 946, 955 (9th Cir. 2009), in which we held that “prior express consent” is

“[c]onsent that is clearly and unmistakably stated,” is not in conflict with the

FCC’s rulings. The district court lacked jurisdiction under the Hobbs Act, 28




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U.S.C. § 2342, to depart from the FCC’s view of the statute. See U.S. W.

Commc’ns, Inc. v. Jennings, 304 F.3d 950, 958 n.2 (9th Cir. 2002).

      We also affirm the district court’s holding that the text message in question

was not a “telemarketing” message. See 47 C.F.R. § 64.1200(f)(12). A message is

characterized as “telemarketing” if it is issued “for the purpose of encouraging the

purchase or rental of, or investment in, property, goods, or services.” Id. We

approach the question of the purpose of a message “with a measure of common

sense.” Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012).

Car2go’s message contains no content encouraging purchase of car2go services.

The message was directed instead to completing the registration process initiated

by Aderhold and to validating personal information. We follow the FCC’s

determination that such messages, “whose purpose is to facilitate, complete, or

confirm a commercial transaction that the recipient has previously agreed to enter

into with the sender are not advertisements.” See In re Rules & Regs.

Implementing the Tel. Consum. Prot. Act of 1991, 21 FCC Rcd. 3787, 3812 ¶ 49

(Apr. 5, 2006).

      AFFIRMED.




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